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 AO 91 (Rev. 11/82)                                           CRIMINAL COMPLAINT
                                                                                                                           ORIGINAL
             UNITED STATES DISTRICT COURT                                            CENTRAL DISTRICT OF CALIFORNIA
                                                                               DOCKET NO.
                 UNITED STATES OF AMERICA
                            v.
                  SHAWN NAOLU LEE, and                                         MAGISTRATE'S CASE NO.        Q ~^
                             M _T_CKEY TANADI                                          ~ ~ ~ a ~                           ~j



                                Complaint for violation of Title 18, United States Cade, Sections 371, 545

 NAME OF MAGISTRATE JUDGE                                                                                          LOCATION
                                                                              UNITED STATES
 HONORABLE Ai,KA SA~JAR                                                       MAGISTRATE JUDGE                     Los Angeles, California

                                                                                                                r_~
 DATE OF OFFENSE                                    PLACE OF OFFENSE           ADDRESS OF ACCUSED (IF KN'       " .r:;}„~ tl

                                                    Los Angeles County

 COMPLAINANT'S STATEMENT OF PACTS CONSTITUTING THE OFFENSE OR VIOLATION:

                                                                [18 U.S.C. §§ 371, 545]                4   l        ~ ~;~ ~~~ ~'h~~~~

 Conspiracy to commit an offense or to defraud the United States, namely to smuggle Asian arowanas from
 Indonesia to the United States.

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                           v


 BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:

           (fee attached affidavit which is incorporated as part of this Complaint)

 MATERIAL WITNESSES 1N RELATION TO THIS CHARGE: N~A


                                                               SIGNATURE OF COMPLAINANT
Being duly sworn, I declare that the                                                                          `
                                                               Adam Diehl
foregoing is true and correct to the best
of my knowledge.                                               oFF~c1aL -ri-rLE
                                                               S ecial Agent — United States Fish and Wildlife Service
Sworn to before me and subscribed in my presence,

SIGNATURE OF MAGISTRATE JUDGE"                                                                                              DATE

                                                                                            KA SAGAR                        August 10, Zo 1 ~
"~ See Federal Rules of Criminal Prgc      re 3 and 54
                                   ~~~ ~.~
AUSAs Amanda M. Bettinel;:,'Erik Silber                  x0470/2231      REC: Detention
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                                 AFFIDAVIT

     I, Adam Diehl, being duly sworn, declare and state as

follows:

                            I.   INTRODUCTION

     1.    I am a Special Agent ("SA") with the Department of the

Interior, United States Fish and Wildlife Service ("USFWS"),

Office of Law Enforcement ("OLE"), stationed in Torrance,

California.     I am authorized by the Secretary of the Interior to

conduct searches and seizures and to make arrests, as authorized

by law, pursuant to the Lacey Act, Title 16, United States Code,

Section 3371 et seq.     I am an investigative law enforcement

officer of the United States within meaning of Title 16, United

States Code, Section 3375, and a federal law enforcement officer

within the meaning of Rule 41(a) of the Federal Rules of

Criminal Procedure.     I have been so employed since May of 2016.

     2.       I was previously employed as a Special Agent with

the Department of Justice, Drug Enforcement Administration

("DEA") in Los Angeles, California, for approximately two years,

and as a Law Enforcement Officer with the United States Forest

Service, Law Enforcement and Investigations in Southern

California for approximately six years.         I received a Bachelor's

degree in Social and Criminal Justice from Ashford University in

July of 2013.    I am also a graduate of the Fullerton College

Police Academy in Fullerton, California, the Land Management

Police Training Program at the Federal Law Enforcement Training

Center in Glynco, Georgia, the DEA Basic Special Agent Academy

in Quantico, Virginia, and the USFWS Special Agent Basic School

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("SABS") at the Federal Law Enforcement Training Center in

Glynco, Georgia.

     3.    During the last nine years, I have conducted several

complex investigations involving the protection of natural

resources and property of the United States, arson, firearms

violations, narcotics trafficking, money laundering, and fish

and wildlife violations.      Since my employment with the USFWS in

2016, I have conducted, or been involved in, multiple criminal

investigations and search warrants relating to the illegal

commercialization of protected fish and wildlife, wildlife

trafficking on the Internet and social media, international

smuggling, false labeling of wildlife products, and violations

of federal fish and wildlife laws.       I have read, studied and

received training on the laws enforced by the USFWS.          I have

also received advanced training in numerous aspects of criminal

investigative techniques, including electronic surveillance,

postal interdiction and the detection of undeclared wildlife,

and wildlife concealment techniques, surveillance, email search

warrants, and the application of undercover techniques for

domestic and international criminal investigations.

                       II. PURPOSE OF AFFIDAVIT

     4.    This affidavit is made in support of a criminal

complaint charging SHAWN NAOLU LEE and MICKEY TANADI with

conspiracy to commit an offense or to defraud the United States,

in violation of Title 18, United States Code, Section 371,

unlawfully importing, and causing the unlawful importation of,

merchandise into the United States contrary to law, in violation


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of Title 18, United States Code, Section 545, illegally

importing legally protected animals, in violation of Title 16,

United States Code, Sections 1538(c) and 1540(b).

     5.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and/or

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

does not purport to set forth all of my knowledge of or

investigation into this matter.         Unless specifically indicated

otherwise, all conversations and statements described in this

affidavit are related in substance and/or in part only.

                          III. APPLICABLE LAW

     6.    The Endangered Species Act is a federal law that,

among other things, regulates the importation and exportation of

certain wildlife and plants to and from the United States, and

implements the United States' obligations under the Convention

on International Trade in Endangered Species of Wild Fauna and

Flora ("CITES").

     7.    CITES is an international treaty among approximately

183 nations, including the United States and Indonesia that

establishes certain requirements that must be met before CITES-

protected wildlife may be imported or exported from signatory

nations.   Wildlife protected under CITES is divided into

Appendices I, II, and III.      Wildlife listed in Appendix I have

the highest level of protection and include those species

threatened with the immediate risk of extinction.


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     8.     Title 50, Code of Federal Regulations, Section 23.13

generally provides that it is unlawful for any person subject to

the jurisdiction of the United States to attempt to import or

engage in international trade with, any specimen of a species

listed in CITES Appendix I, II, and III.        All wildlife listed in

Appendix I may only be legally imported into the United States

when accompanied by a CITES import permit issued by the United

States and a CITES export permit or re-export certificate issued

by tr:e country from which the wildlife is exported.         All CITES

Appendix II wildlife may only be imported into the United States

when accompanied by an export permit or re-export certificate

from the country from which the wildlife is being exported.           50

C.F.R. ~~ 23.20(e), 23.35, 23.36.

     9.     Asian arowanas (Scleropages formosus) are listed in

CITES Appendix I.1

     10.    Title 16, United States Code, Sections 1538(c),

1540(b), provide criminal sanctions for any person to knowingly

engage in any trade in any specimens contrary to the provisions

of CITES.

     11.    Title 18, United States Code, Section 371 makes it

unlawful for two or more persons to conspire, either to commit

any offense against the United States, or to defraud the United

States, or any agency thereof in any manner or for any purpose,




      Asian arowanas (Scleropages formosus) are an endangered
species and are also protecte  under
                                  t~Endangered Species Act,
Title 16, United States Code, Sections 1538, 1540(e) and 50
C.F.P. 17.11.
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and one or more of such persons do any act to effect the object

of the conspiracy.

     12.   Title 18, United States Code, Section 545 makes it

unlawful for a person to fraudulently or knowingly import or

bring into the United States, any merchandise contrary to law,

or receive, conceal, buy, sell, or in any manner facilitate the

transportation, concealment, or sale of such merchandise after

importation, knowing the same to have been imported or brought

into the United States contrary to law.

     13.   The Lacey Act, 16 U.S.C. ~ 3371, et seq., is a federal

law that, among other things, makes it is unlawful for any

person to make or submit any false record, account, or label

for, or any false identification of, any fish, wildlife, or

plant which has been or is intended to be either imported or

transported in interstate or foreign commerce.         16 U.S.C.

~ ~ 3372(d) , 3373(d) .

     14.   Federal law generally provides that all importers of

wildlife must file with the USFWS a completed Declaration for

Importation or Exportation of Fish or Wildlife (Form 3-177),

that is signed by the importer or the importer's agent, upon the

importation of any wildlife at the place where USFWS clearance

is requested.    See 50 CFR §~ 14.61 and 14.52.

                    IV. STATEMENT OF PROBABLE CAUSE

     15.   On February 10, 2017, I obtained an anticipatory

search warrant from the Honorable Steve Kim, United States

Magistrate Judge.    I hereby incorporate the statements in that

affidavit, which is attached as Exhibit 1, to support probable
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cause for the search warrant.       To summarize that affidavit, on

February 9, 2017, a United States Customs and Border Protection

inspection of a United States Postal Service parcel being

imported from Hong Kong revealed eight live Asian arowanas

(CITES Appendix I protected fish).       I have attached a photograph

of the subject parcel (with contents: porcelain pots and bags of

Asian arowanas) and a photograph of the bags of Asian arowanas

removed from the porcelain pots in Exhibit 2.

       16.   On February 10, 2017, I assisted in the execution of

the anticipatory warrant of the parcel referenced above.

Specifically, on February 10, 2017, I saw USFWS SA Juan Ramirez

Amezcua, who wore a DHL uniform, drive a white cargo van, and

park it on the street in front of LEE's residence.          SA Ramirez

Amezcua delivered the parcel, containing eight Asian arowanas,

to the residence.

       17.   After the delivery, SA Ramirez Amezcua told me that an

Asian male wearing a black baseball hat, exited a white Toyota

Corolla parked in front of his cargo van, and met SA Ramirez

Amezcua at the front gate of LEE's residence.         SA Ramirez

Amezcua told me that the Asian male identified himself as SHAWN

LEE and signed a manifest for the parcel with the name SHAWN

LEE.

       18.   After the package was accepted, I saw two Asian males

walk quickly from the front of LEE's residence to a white 2017

Toyota Corolla, California license plate #7UTW825 that was

parked on the street in front of the residence.         I saw one of

the males, later identified as Justin Luu, get into the driver's


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seat.   I saw the second male, later identified as LEE, wearing a

black hat and dark sweatshirt, and carrying a white plastic bag

in his hand, and get into the front passenger seat.          The bag

carried by LEE was fairly large and appeared to be heavy and

weighed down by its contents transport of wildlife.

     19.    I then saw the white Toyota Corolla make a U-turn and

travel east away from LEE"s residence.

     20.    I pulled up behind the white Toyota Corolla, along

with California Department of Fish and Wildlife ("CADFW") Warden

Ambartsum Bagdasaryan and Immigration and Customs Enforcement,

Homeland Security Investigations ("HSI") SA Andrew Kim in one

unmarked vehicle, and CADFW Wardens Paul Ton and Warden Brian

Huber in a marked CADFW law enforcement vehicle.         I communicated

with the other vehicles via radio and asked the Wardens to make

a traffic stop because I believe that the white bag contained

the Asian arowana fish.     I observed Wardens Bagdasaryan and Ton

activate their vehicles' emergency lights and stop the white

Toyota Corolla near the intersection of Woodbury Road and Taft

Street, in the city of Garden Grove.       I parked immediately

behind the two CADFW vehicles.

     21.    I then approached the white Toyota Corolla with the

Wardens and SA Kim.     I identified myself to the two Asian males

sitting in the front seats and requested their driver's

licenses.   I asked both passengers to identify theirs.         The

driver of the vehicle identified himself Justin Luu and the

passenger as LEE.    I saw and recognized a white plastic bag on

the front passenger side floor board between LEE's legs.           I


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asked LEE what was in the bag and he said, "fish."          I asked LEE

to hand the bag to one of the Wardens through the passenger side

window.    I confirmed with Warden Huber that the bag, a white

plastic "Coco's" bag, contained the eight bags of Asian arowanas

placed in the parcel SA Ramirez Amezcua and delivered to LEE's

residence.   (DHL Parcel with Airway bill number 9667953304 and

its contents) search warrant 7MJ00297 2/10/17 signed by

Magistrate Judge Steve Kim.      I have attached a photograph of the

eight bags of Asian arowanas retrieved from LEE in Exhibit 3.

     22.   I told LEE that agents had a search warrant for his

residence on Ranney Ave. in Garden Grove and asked Luu to drive

back to LEE's residence.      LEE and Luu were cooperative and

agreed to return to the residence.       LEE told me that the

residence was occupied by his parents.        The Wardens had LEE step

out of the vehicle and escorted him to their CADFW vehicle.

     23.   As LEE got out of the white Toyota Corolla, his

smartphone was left on the front passenger seat.         The Wardens

transported LEE in their vehicle.       I followed Luu in the White

Toyota Corolla back to LEE's residence.

     24.   I later assisted with the search of the residence and

learned that Agents looted two bundles of cash in a bedroom,

identified by LEE and his parents, as LEE's room.          I saw as one

of the bundles of cash, and learned from SA Ramirez Amezcua that

$15,370, was seized and processed as evidence.

     25.   After the initial interview of Lee and search of the

residence, SA Ramirez Amezcua, Warden Bagdasaryan and I

interviewed LEE in the garage attached to LEE's residence.
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During the interview, I gave LEE his smartphone and asked for

consent to look at the content, to include pictures and

messages.    LEE did not consent to the search of his smartphone.

SA Ramirez Amezcua and I advised Lee that we were going to seize

the phone, and cash, and parcel as evidence.         I then witnessed

as LEE signed over possession of his smartphone along with the

parcel and the $15,370 on a USFWS Property Receipt.

     26.    After conclusion of the search warrant, SA Chee told

rn~ that the DHL parcel containing the tisian arowana fish was on

the floor in the immediate entryway behind the front door at

LEE's residence.    I also learned from SA Dean that during the

interview, LEE expressed little knowledge about the contents DHL

parcel, but told SA Dean that he was expecting the package.           SA

Dean told me that LEE discussed his knowledge of Asian arowanas,

and used the term "Arrows," which I know is a term of art of

those who traffic in that type of fish.        SA Dean told me that

LEE communicated through emails and phone calls, using the name

"Bearbullies" and used his cellular phone number 714-300-8192.

     A.     Laboratory ResuT~s

     27.    On February 15, 2017, I sent two (deceased) of the

eight seized Asian arowanas to the National Fish and Wildlife

Forensic Laboratory ("NFWFL") in Ashland, Oregon, for

examination and DNA analysis.      On April 13, 2017, I received and

reviewed a copy of the Genetics Examination Report from

Supervisory Forensic Scientist Mary Burnham Curtis, Ph.D.           The

report confirmed that the species origin is Scleropages formosus

(Asian arowana), which are included in CITES Appendix I and
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listed as endangered under the Endangered Species Act ("ESA").

On April 27, 2017, SA Diehl received the two Asian arowanas from

the NFWFL and returned them to the FWS Torrance Field Office

evidence freezer.    I have attached a photograph of an Asian

arowana submitted to the NFWFL i~ Exhibit 4.

     B.     Cellular Phone Extraction Results

     28.    On February 13, 2017, I sent LEE's Samsung Galaxy Note

3 smartphone to the USFWS Digital Evidence Recovery and

Tect~.nical Surveillance Unit ("DERTSU") in Jacksonville, Florida.

On February 14, 2017, DERTSU Senior SA William Dennis received

the Samsung Galaxy Note 3.      On April 7, 2017, I received the

complete extracted results on a USB flash drive from SA Dennis.

     29.    On that date, I reviewed the text message results and

noted the following:

            a.   On February 1, 2017, LEE sent a text message to

phone number 714-661-0337, shown in LEE's contact list as Jason

Luu, which sai~, "All random, its [sic] for the arowans [sic] im

[sic] bringing in, going to smuggle them in myself and fuck

everyone else up."    On May 1, 2017, I conducted a search in TLO

for phone number 714-661-0337 and learned the phone number is

associated with Jason Q Luu and the address 5209 West Lehnhardt

Avenue, Santa Ana, California 92704.       I learned that the address

was also used by Justin Luu, the brother of Jason Luu.          Justin

Luu was previously identified as the driver of the white Toyota

Corolla transporting LEE and the fish.        Justin Luu was also

present during the search warrant at LEE's residence on February

10, 2017.


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               DHL Parcel Shipment from TANADI in Indonesia to LEE

               b.     On February 7, 2017, LEE received an automated

text message from DHL, which said, "DHL Express 9667953304 from

Mr. Mickey is scheduled for delivery Feb 09 2017.          Signature is

required..."     I confirmed that the DtiL tracking number in this

message, 9667953304, and the sender, Mr. MICKEY, were the same

information on the air waybill of the subject parcel delivered

to LEE at his residence on February 10, 2017 (Shipper: Mr.

MICKEY, JL.         Shinta No. 1, Bojong Indah - Rawa Buaya Cengkareng,

Jakarta, Indonesia 11610; Phone Number: +6285780639550).           Based

on my training and experience, I know that individuals involved

in the smuggling of wildlife use partial or fictitious names and

addresses to hide their identity.          I believe MICKEY TANADI used

the partial name "Mr. MICKEY" and a fictitious Indonesian

address on the air waybill to hide his identity.

     30.   During the period of January 19, 2017 through February

10, 2017, LEE, using the identifier "Pumpkin420," which I

confirmed from the data DERTSU extracted from LEE's cellular

phone, communicated with MICKEY TANADI using the "LINE"

communication application.        LINE is a free instant messaging

platform for smartphones, which allows users to make calls, send

images, videos and text messages.

     31.   On or about April 17, 2017, I reviewed the LINE

communication results and noted the following:

           a.        On January 19, 2017, LEE sent TANADI a message

and wrote, "Im [sic] looking to order some dats...Arrows too."         I

know, from my experience as a USFWS Special Agent and


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investigation into LEE, that "Dats" is short for Datnoid fish

a~~u "A.rrows" is short for Asian arowanas.      TANADI responded and

wrote, "Hmm but first thing first for arowana...You know in US the

fish is [sic] prohibited right?"         LEE wrote, "Yea [sic]."

TANADI replied, "V~Te have the method to smuggle it...Is those [sic]

fish for you collection only or for resell brother?"          LEE wrote,

"Both haha."     TANADI replied, "For arowana, per smuggle we need

to collect 8 fishes at least (with 600 USD cost per shipment)."

LEE wro~~~~~, "Ok that works...How much per arrow?"     TANADI replied,

"Arowana super red, best quality, normal body - 750 USD...Red tail

golden, 250 USD...But minimum 8 pcs."      LEE wrote, "Ok no problem."

TANADI replied, "But one request brother...Pls [sic] make our

company or my name or even my country keep suspicious

[sic]...Don't let anyone know."    LEE wrote, "Yes sir I can promise

you that...How big will they be?"     TANADI replied, "To smuggle

maximum 10 cm...For smuggling I cannot guarantee 1000 fish can

make it through shipping, but we can try to compensate b~~o."

LEE wrote, "Ok no problem...    Ok thank you!    Im [sic] ready when

you are."    TANADI replied, "All of Asian arowana safe here with

me."

            b.   On January 20, 207, LEE sent TANADI a message

and wrote, "Help me out bro, I have money to spend, we keep it

safe...~iVhat I do is hustle...Just like the arrows."   TANADI

responded, "Aro [sic] different haha we cannot declare it at

all."   TANADI then sent LEE an image of a disassembled speaker




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next to clear plastic Kordon2 bags and rubber bands on a floor

and wrote, "This is the secret method to do it LOL."            LEE wrote,

"Let.me know bro, can't wait...Send me everything."          TANADI

replied, "We use special treatment water, with kordon bag (u

[sic] know this one right), and than [sic] we treat the fish

well, then smuggle it as "aquarium supplies...Now prepare

ev~rythinc~, bcos [sic] tbh [sic] , last time get caught here

[sic], almost have problem with cops.         LEE wrote, "No problem, I

deal with worse things than fish..."      TANADI repla_ed, "So actually

right now me and my boss just need to recharge our courage to do

it LOL...What else worse brother?"       LEE wrote, "Sniff

sniff????...Smoke smoke?..."   TANADI then sent LEE one image of

himself, which I later confirmed as TANADI from TANADI's

Indonesian identification card and passport photographs sent to

LEE. 3   LEE wrote, "All my life school no good for me, but hustle

life me good [sic]...I sell fish, dog, chickens, parrot...Everything

haha...Money no problem, I need trust."

           c.    On January 20, 2017, TANADI sent LEE a message

and wrote, "Bro, if we ship arowand in the beginning of February

how?...But I ask you a favor...Do not tell [sic] anything about

this illegal arowana to anyone, including my boss on Venus

Aquatics...This smuggling stuff only between you and me [sic]...For

the first trial, 8 RTG first."      I know, from my experience and



     Z Kordon bags are breathable plastic bags used in the
aquarium supply industry to ship fish.
    '  On July 27, 2017, I confirmed the identity with SA Drew
Stewart with Department of State who inspected the photograph
TANADI sent and compared with authentic Indonesian passport
photogra~,i~s.

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training as a USFWS Special Agent, and my investigation into

LEE, that ."RTG" is short for Red-tail arowana. _LEE replied,

"Yes boss we do 8 RTG first."      TANADI wrote,. "So for first

shipment 8 pcs.     x 250 = 2000 USD + shipping around 550 USD (if

the charge below 550, I will take that as your money in me)."

LEE replied, "No problem bro...Let me know how much the total is

bro."   TANADI wrote, "...2550 USD."     TANADI then sent LEE one

image of his Indonesian identification card and one image of his

Indonesian p~~ssport, passport number: XXX2373, ar~d also

commented, "But do not tell about this arowana mission."           LEE

replied, "Yes not arrow stuff, just legal stuff."

             Payment Instructions For the Arowana DHL Shipment

             d.   On January 20, 2017, TANADI sent LEE six images

of aquarium supplies being prepared to smuggle fish and turtles

and wrote, "That's how we smuggle them."        TANADI also sent Lee

one image of Asian arowanas.      LEE responded, "Send me some

asap!!!"   TANADI wrote, "6 February?"       LEE replied, "Yea [sip:]

tell me what you need and total cost."        TANADI wrote, "Yes 2550

for first shipment bro..."    LEE replied, "How much total?       250 x

20, 5,000?    Plus shipping?"    TANADI wrote, "Oh I think better

eight pieces first because this is o>>r first deal [sic].          After

you received [sic] the fish, next week we can ship another 8."

LEE replied, "Ok...No problem, so how much?..Address at my

house...10591 Ranney Ave., Garden Grove, CA 92843."        TANADI wrote,

"Bcs [sic] we don't want to make FeclEx here be suspicious on

[sic] us and also, I think along with this [sic] small deals,

trust carp be built between us...2550 USD including shipment RTG


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plus all packing needs."      LEE replied, "Ok no problem, I

appreciate it bro..."

            e.   On January 20, 2017, LEE sent TANADI a message

and wrote, "...Ok, how do I send you money?         Paypal?    Bank wire

transfer?...Do I get a certificate?"     TANADI responded, "Wire

transfer...Swift code BCA: CENAIDJA, Bank account: 4790300047,

Beneficiary name: Mickey Tanadi, Bank: Central Asia, Indonesia,

2550 USD...If you want a certificate, better send separately boos

[sic] we don't want to make they [sic] suspicious cn. the

certificate...The certificate, is not that `big thing' because

every farm just can make their own certificate without any

government or organization, control or check it."             LEE wrote, "I

know, I'm sure I can just make copies and change the number...Just

easier to sell with the certificate lol...People picky."           TANADI

replied, "Or better, I send you my design and you can change the

number haha...I will provide the editable design okay...Just keep

this secret, all price will fine [sic] and you can control the

market."    LEE wrote, "No problem bro...I will send money on Monday

for you, Ok?...The baby [sic] you get wild caught?"           TANADI

replied, "Yes, all in the market is wild caught [sic]."                LEE

wrote, "I know!!!!"                          _

            f.   On January 21, 2017, TANADI sent LEE a message

and wrote, "Is it legal to use drugs there? Hahaha."             LEE

responded, "What kind of drug bro?...Only smoking weed is Ok in

some states, not all of US...I have E pill, cocaine, special K,

crystal.    Everything lol...These are illegal...Have you seen cocaine

before?    Or try it?...You sniff it lol."       TANADI wrote, "Can it


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make me fly?"    LEE replied, "Make you Superman lol...[nTant to see?"

TANADI wrote, "Show me haha."      LEE sent TANADI four images of a

white substance4.    TANADI wrote, "Just like a powder isn't it?"

LEE replied, "Yea [sic] you crush it and sniff it lol...In my

hand, 350 for that...Guess how much the white brick cost, it as

[sic] big as my hand...The more shinny it looks, the better the

Coco haha._.350 USD for that much in my hand, the whole white one

in the bag cost 17,000 USD lol."

           g.    On January 24, 2017, TANADI sent LEE three images

of Asian arowanas.     LEE responded, "Morning bro, just filled out

the wire transfer, bank said they will send it out

tomorrow...Sorry bro, bank said I have wrong address for you, how

do you write your address?...For US like this, 10591 Ranney Ave.,

Garden Grove, CA 92843...Can you write your address for me please

so I copy exactly like you [sic]."       TANADI wrote, "Beneficiary

Address: JI Arjuna 1/12a RT/RW 010/09, West Jakarta, Jakarta

Indonesia...But I think based on my experience and training, I

know that paquet arroguts, such as these involving SWIFT codes

for moire transfers are used to receive payment.

           h.    On January 27, 2017, LEE sent TANADI a message

and wrote, "Going to bank in 1 hour will let you know...Good



     4 Based on my training and experience when I was a DEA
Special Agent, I know that large quantities of white powdery
substances and narcotics, such as cocaine, are often condensed
into brick shapes and placed in clear plastic bags. I also know
that when pieces of cocaine are broken off of large condensed
bricks, those pieces look like white crystalized rocks. The
pictures of white substances LEE sent to TANADI on January 21,
2017 display similar characteristics to that of cocaine, and
would therefoz~e support LEE's messages that the images are of
cocaine.

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morning bro, bank sent it today for you.          I used my friend's

account to send you money."        TANADI responded, "Ok...get any

receipt?"     LEE wrote, "Let me ask my friend sorry bro, first

time haha." ~TANADI replied, "Ya [sic] hope fish mousiness can

make you have another good source of income hehe, [sic]."          LEE

wrote, "Drug money good but scary haha."          TANADI replied, "Me

here and my boss will support you totally on fish business hehe

[sic]...Anw [sic] bro, we shoot for 6 February right?"        LEE wrote,

"Haha yes."        TANADI replied, "Ok Ok.    I hope I already ~Eceived

the money by Monday bro [sic]...Bcos [sic] need to prepare

everything, need to take the fish from supplier's place and buy

all shipment stuff."

             i.     On January 29, 2017, TANADI sent LEE a message

and wrote, "Bro, I already received the money."          LEE responded,

"Yay!     Thanks bro sorry for no receipt, next time I will make

sure."     TANADI wrote, "Cool man, just do order [sic] for all

shipment supplies..And I make sure all the water is ready

[sic]...On Wednesday morning (Indonesia time), I will got [sic]

the fish from supplier...Will give good food and treat the fish

for 3 days - then we need to starve them for 48 hours and on

Monday,. shipment will be done."       LEE replied, "How long before

we do another shipment?"       TANADI wrote, "Arowana or legal

shipment?"        LEE replied, "Arowana."    TANADI wrote, "At least 2

weeks bro Hehe...Hope all things well and me don't get caught lol

[sic]."     LEE replied, "Haha you will be Ok."      TANADI wrote,

"Give me ur [sir_] email brother."        LEE replied,

"Bearbulli3@gmail.com."


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             j.   On January 30, 2017, TANADI sent LEE a message

and wrote, "Is it okay if we delay one day til [sic] 7...7 Feb...You

will receive Thursday ur [sic] time."         LEE responded, . ",rust want

to make sure you got [sic] the money, I was worry [sic] haha."

TANADI wrote, "Hahaha I already get [sic] the money, and I don't

want to make you worry...Anw [sic] , I will provide thz

certificate...Yo~a can print it first..."

             k.   On January 31, 2017, LEE sent TANADI an image of

an unknown amount of united States currency spread out on the

floor and wrote, "Only for you Ok."         TANADI responded, "Hahahaha

cool..."

             1.   On February 1, 2017, TANADI sent LEE two images

of Asian arowanas in a fish tank and one image of Asian arowana

certificates and wrote, "N [sic] check ur [sic] email also..."

TANADI, using email address: mickeytanadi5@gmail.com, sent an

Asian arowana certificate template to LEE's email address:

bearbulli3s@gmail.com.     TANADI tr~en wrote, "Till [sic]

Monday/Tuesday, I will take care of them so they will be ready

for a lorry trip...Just a super friendly reminder, u [sic] will get

caught or pay big fines for keeping this [sic] fish (more [sic]

sell them LOL, just sell to someone you really. trust yaa [sic]..."

LEE responded, "My operation will be good.         Fish don't live with

me and the people selling the fish will be little kids.           Haha."

TANADI wrote, "Yes yes, also pls [sic] keep my name secret

Hehe."     LEE replied, "Yes no problem."     TANADI wrote, "See the

certificate?...Better the fake one right haha [sic]...Now T'm

looking for the item for we [sic] smuggle the fiah [sic]...fish."
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     Wildlife Smuggling and Concealment

           m.    On Febzuary 1, 2017, TANADI sent LEE one image of

a ceramic pot to use as a potential means for smuggling fish and

wrote, "This is she plan."      LEE responded, "Put in that?"

TANADI wrote, "No, peat in the plastic bag first."         LFE replied,

"Naha of course."    TANADI sent LEE one image of an aquarium

filter to use as a potential means for smuggling fish end wrote,

"Like this."    LEE replied, "Exciting!!!"      TANADI wrote, "So

later we can ship more safely [sic]...Bcos [sic] as long as I

heard [sic] the only inspection is on [sic] the store, when we

give the goods."    Based on my experience training, I know that

wildlife, to include Asian arowanas, are smuggled in aquarium

filters and other household items to conceal their contents

during the shipping and inspections.

           n.    On February 2, 2017, LEE sent TANADI a message

and wrote, "Can you send more than 8 next time?"         TANADI

responded, "One shipment?...V~Till try...After bribe maybe can [sic]..."

LEE wrote, "Haha Ok let me know, I'll take care of you bro."

TANADI replied, "8 is from the last experience...F,r~w [sic] can you

have some address in the future?...To make the DHL not

suspicious ."   LEE wrote, "Yes every wire money ~s different name

[sic], every address will be a different name...Haha every

shipment will go to each of my friends lol...first one go [sic] to

my parent's house...Hahaha ya [sic] after 6 address [sic] , just

simply back to the first."

           o.    On February 2, 2017, LEE sent TANADI one image of

himself and his dog and wrote, "Me and Pumpkin lol."          TANADI
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responded, "Wah [sic] for the first time I see ur [sic] face

LOL...Will try to bribe ASAP."    LEE then sent TANADI two images of

United States currency spread out on the floor and wrote, .

"20,000 ready for rTou bro!"     I know from my investigation of LEE

and from the search warrant on February 10, 2017, that the image

is of LEE and his dog named "Pumpkin."        I also know from my

investigation into LEE anal from evidence observed at his

residence during the searr_h warrant, that LEE uses marijuana.

Based on my experience as a DEA Special Agent, I know that the

term "420" is used in the cannabis culture and when referring to

smoking marijuana.     I believe LEE's LINE application username

"Pumpkin420," incorporates his dog's name and his knowledge of

marijuana.

     Shipment of Asian Arowana Fish

           p.    On February 3, 2017, TANADI sent LEE a message

and wrote, "Boos [sic] I still can't found [sic] the `packaging'

of smuggling bro Haha [sic]...Now work to find it."        LEE

responded, "Need more bread bro?...It's Ok let me take care of

it...I send you - more money Ok [sic]?"   TANADI wrote, "No no...I

can't find the fit [sic] pot to hide the fish."         LEE replied,

"Ok bro please let me know if u [sic] need to send you more

money [sic]...Haha it's Ok take your time."      TANADI wrote, "Bro I

got the pot Hehe..Now the seller send the pot to my home [sic]."

TANADI sent LEE one image of a ceramic pot and one image of a

bag of water.    LEE replied, "Haha whatever you feel safe [sic]."

TANADI replied, "Ok will do some experiment [sic]."                _




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             q.   On February 5, 2017, TANADI sent LEE one image of

a fish in a bag of water and wrote, "Need ur [sic] receiver

info...Ur [sic] number and full name receiver [sic] ."       LEE

responded, "Shawn Lei, 10591 Ranney Ave., Garden Grove, CA

92843...7143008192."   TANADI then sent LEE one image of a ceramic

pot, one image of white cardboard boxes, and one image of

himself in a vehicle and wrote, "Drive withut [sic] see what's

behind 1o1...Pls [sic] pray for me."       LEE replied, "Haha you will

be Ok."     TANADI wrote, "The scheduled arrival time should be

[nTednesday morning ur [sic] time...Will go to DHL 4 pm my time."

TANADI sent LEE two images of white ceramic pots containing

plastic bags and one image of bags of fish.         LEE replied, "How

many fish in a pot?"     TANADI wrote, "1 pot - 2 fish...But I will

send you 5 or 6 pots...Just in case the DHL guy wants to open."          I

personally inspected the DHL parcel seized on February 9, 2017,

that contained six ceramic pots.         I saw that four of the six

po~.s contained two bags of fish each.       The ceramic pots

containing the bags of fish and white cardboard boxes shown in

the images TANADT sent to LEE, via text message, appear to be

the same items that were seized by USFWS Special Agents.

            r.    .nn February 6, 2017, TANADI sent LEE_~ne image of

a DHL employee and one image of the commercial invoice for the

shipment.    LEE responded, "Look you take a picture of him

[sic] ."   TANADI wrote, "Yeah...9667953304...Here's the airway

bill...Here's today's shipment breakdown:       Fish: 2000 USD, DHL:

420 something, The pot: __ 80 USD, Kordon bag + some supplies: +/-

50 USD."    LEE replied, "Gkay haha."      TANADI wrote, "I hope all 8


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fish will safely arrived [sic]..Anw [sic] with the airway bill

you can check it through DHI," s website."       LEE replied, "I will

keep checking it to make sure."        On February 10, 2017, I

personally inspected the DHL parcel materials this Airway bill

number and I know that it contained eight live Arowana Fish.

             s.   On February 7, 2017, TANADI sent LEE a message

and wrote, "I just checked on the web and they said the

estimated arrival time is on Thursday by the end of the day."

LEE responded, "Hopefully fish come in good bro."          TANADI wrote,

"Yaa [sic] tbh [sic] me worry, but still hope that at least 6

fish alive in ur [sic] place."       LEE replied, "Haha I prepare for

the worst...Maybe ask when their next flight is to US, so fish

don't have to wait there..No problem we both have to risk to make

money..."

             t.   On February 8, 2017, TANADI sent LEE one image of

an Asian arowana in a fish tank and wrote, "This is the worst

that I keep [sic], I order [sic] 9 from supplier, in case, if

there's any sudden death...The good one already send all to you

[sic]."     LEE responded, "Thank you bro...Everything good.,- just

waiting."     TANADI wrote, "Really?     Is it possible to receive it

tonight ur [sic] .fi.ime?"   LEE replied, "No, that's US C>>stoms

after they clear it, it will go to Irvine.        I have to pick it up

in Irvine tomorrow morning hopefully."        TANADI wrote, "I think u

[sic] better contact DHL."      LEE replied, "Really?"      TANADI

wrote, "I just see there is pending custom [sic]..Afrad they

know of the fish."     LEE replied, "They say in custom you cannot_

go pick up [sic]..."   TANADI wrote, "Oh but they do not tell [sic]


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anything bad about the shipment right?"        LEE replied, "Will see

tomorrow morning, I will go there right away..Nothing bad bro

haha...Yea [sic] they said package is still in LA."

           u.    On February 9, 2017, TANADI sent LEE a message

and wrote, "Want to make sure everything's good bro."          LEE

responded, "Yea [sic] play it safe no rush, rather us be safe

then they find fish and we no good lol [sic]."         TANADI wrote,

"Hope all things fine...I am still optimist bro!...Pray pray haha."

LEE replied, "I called DHL, they will call LA custom and call me

back why my package not here yet [sic]...lol...Haha damn bro they

found it, sorry...They said they detained my shipping package,

they will send me a letter in the mail in 30 days."          TANADI

wrote, "Is it leaking?"     LEE replied, "Lono [sic] DHL just told

me that, they did not let me ask a question."         TANADI wrote,

"Can I be chased?"     LEE replied, "No you won't Haha."       TANADI

wrote, "Hope you are not in big trouble as well..."          LEE

replied, "Naha it's OK, this is nothing to before...Maybe send me

a lot of pots...Hard to find with more pots...Yea [sic] new

everything again."     TANADI wrote, "This shipment I use 6 dot

[sic]...+8 aros [sic] inside, already 26 kg."       LEE replied, "DHL

just called me...I did not pick up.      They said my shipment will

come tomorrow now...They said custom release late [sic]."          TANADI

wrote, "You will get empty pot?       Haha."   LEE replied, "I don't

know...Maybe empty or they deliver with fish and game lol...I will

have my mom receive the shipment at home and I will wait to see

if the police come."     TANADI wrote, "Can go to jail is it




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[sic]?"    LEE replied, "Already change new phone so no

pictures...Yea [sic] jail time for sure."

           v.    On February 10, 2017, TANADI sent LEE a message

and wrote, "How was DHL?"      LEE responded, "Package is going to

Irvine right now...I'm going to see if I can pick it up."         TANPDI

wrote, "Don't want you get into problem [sic]."         LEE replied,

"Haha it's Ok me have a plan incase [sic]."         TANADI wrote,

"What's the plan?"     LEE replied, "I shoot the police...Lol...Jk

[sic]...Still waiting."

           w.    On February 10, 2017, at approximately 3:40 pm.,

immediately after SA Ramirez Amezcua delivered the subject

parcel to LEE's residence, LEE sent TANADI a message and wrote,

"Fish good bro!!!...Everyone made it."        TANADI replied,

"Really???...Take a photo...So what happened with Customs?"       At

approximately 3:50 p.m., LEE was detained and received a missed

call from TANADI.    At 4:48 p.m., TANADI sent LEE a final message

a~zd wrote, "Everything Ok bro?"

                             V. CONCLUSION

     32.   Based on the foregoing facts, I believe tYiere is

probable cause to charge SHAWN NAOLU LEE and MICKEY TANADI with

conspiracy to commit an offense or to defraud the United States,

in violation of Title 18, United States Code, Section 371,

unlawfully importing, and causing the unlawful importation of,

merchandise into the United States contrary to law, in violation

of Title 18, United States Code, Section 545, illec~~.ally




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importing legally protected animals, in violation of Title 16,

United States Code, Sections 1538(c) and 1540(b).



                                         Adam Diehl, Special Agent
                                         United States Department of
                                         the Interior, United States
                                         Fish and Wildlife Service

Subscribed to and sworn before me
this~~th day of August 201?.




HONORABLE ALKA AGAR
UNITED STATES MAGISTRATE JUDGE




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~R~~.s~sz~            ANTICIPATORY SEARCH WARRANT ON WRITTEN AFFIDAVI
             UNITED STATES DISTRICT COURT                       CENTRAL DISTRICT OF CALIFORNIA

              UNITED STATES OF AMERICA                      DOCKET NO.                   MAGISTRATE'S CASE NO.
                         v.
                                                                            '~~~ ~ ~ ~ ~ ~~
    THE PREMISES KNOWN AS:                                  TO:
    Location in which visual surveillance indicates the     ANY SPECIAL AGENTS)WITH iJNITED
    parcel DHL package bearing Air Waybill Number           STATES FISH AND WILDLIFE SERVICE OR
    9667953304 has been accepted for delivery located at    ANY OTHER AUTHORIZED OFFICER
    10591 Ranney Ave., Garden Grove,CA 92843.



    Affidavit having been made before me by the below-named affiant that be/she has reason to believe that
    on the premises known as

                                                            SEE ATTACHMENT A



                                                                         in the Central District of California

   there will be concealed certain property, namely:

                                                            SEE ATTACHMENT B

   and as I am satisfied that there is probable cause to believe that upon the occurrence of the tri~~erin~
   event described in Section VI of the search warrant affidavit, the property so described will be concealed
   on the person or premises above-described and the grounds for application for issuance of the search
   warrant exist as stated in the supporting affidavit which is incorporated herein by reference and attached
   hereto.

   YOU ARE HEREBY COMMANDED to search on or before                         fourteen (14) days
  (not to exceed 14 days) the person or place named above for the property specified, serving this warrant
   and making the search at any time in the day or night upon the occurrence of the event described above,
   and if the property be found there to seize it, leaving a copy of this warrant and receipt for the property
   taken, and prepare a written inventory of the property seized and promptly return this warrant to the
   duty U.S. Magistrate Jude as required by law.




   NAME OF AFFIAN                                      .M          .=~                DATE/TIME ISSUED

                                                                                      L/~~/~ f
   Adam Diehl, nited States Fish and        The Honorable Steve Kim                    ~
   Wildlife Service                                                                   ~~ -~~~ ~.~


          ~~
AUSA: ERIK M.SILBER and AMANDA M.BETTINELLI~
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.,
                                                 RETURN
DATE WARRANT RECEIVED                DATE AND TIME WARRANT EXECUTED       COPY OF WARRANT AND RECEIPT
                                                                          FOR ITEMS LEFT WITH


INVENTORY MADE IN TFIE PRESENCE OF

INVENTORY OF PROPERTY TAKEN PURSUANT TO THE WARRANT




                                            CERTIFICATION


I swear that this inventory is a true and detailed account of all the property taken by me on the warrant.



      Subscribed, sworn to, and returned before me this date.


           U.S. JUDGE OR MAGISTRATE                                    DATE
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                              ATTACHMENT A

PREMISES TO BE SEARCHED

     The SUBJECT PREMISES to be searched -- only after the event

that triggers the anticipatory search warrant, i.e. delivery and

acceptance of the DHL parcel bearing Air Waybill 9667953304 and

addressed to Shawn Lee -- is located at 10591 Ranney Ave.,

Garden Grove, California 92843.         It is a single story light

yellow stucco house with a black shingled roof and grey wood

decorative trim below the roofline.        It has a two-car white

garage next to an iron gate that leads to a front door.          There

is a window on the front side of the house opposite to the

garage and a small patch of grass in the front yard.




                                    i

                                         [Non-Instrumentality Protocol]
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                              ATTACHMENT B

ITEMS TO BE SEIZED

     1.    The items to be seized from 10591 Ranney Ave., Garden

Grove, California 92843 (the "SUBJECT PREMISES") constitute

evidence, fruits, and/or instrumentalities of violations of 16

U.S.C. §§ 1538(c), 1540(b); 50 C.F.R. ~~ 23.13, 23.20 (illegally

importing legally protected animals), 16 U.S.C. ~~ 3372(d),

3373(d)(3)(A)(i) (submitting a false record or label for

wildlife intended to be imported), and 18 U.S.C. ~ 545

(smuggling goods into the United States), namely:

           a.    A DHL parcel with Air Waybill number 9667953304

and addressed to Shawn LEE at 10591 Ranney Ave., Garden Grove,

California 92843, and its contents, including live Convention on

the International Trade in Endangered Species of wild Fauna and

Flora (."CITES") protected wildlife.

           b.   Any other CITES-protected wildlife.

           c.   Records relating to the purchase, importation, _

transportation, storage, possession, transfer, disposition,

trade, sale, offer to purchase, or offer for sale of CITES-

protected wildlife, including notes, memos, notebooks, books,

correspondence regarding CITES-protected wildlife, invoices,

shipping records, packing slips, facsimiles, purchase orders,

bills of sale, shipping records, letters of credit, permits,

customs forms, contracts, importation documents, receipts,

customer lists, price lists, financial records, cancelled

checks, check book ledgers, money orders, wire transfers, bank

statements, international bank transfer statements, cashier

                                   ii

                                        [Non-Instrumentality Protocol]
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checks, credit card statements, personal telephone directories,

and photographs; and

            d.   Records and documents reflecting communications

with government agencies, consumer associations, and business

associations about CITES-protected wildlife, or the requirements

for the importation or exportation of wildlife under CITES,

including documents or licenses regarding compliance or non-

compliance with governmental rules and regulations, or

declarations, permits, and licenses required by governmental

rules and regulations to import, export, or transport wildlife
                                         1
products.

            e.   With respect to any digital device containing

evidence falling within the scope of the foregoing categories of

items to be seized:

                 i.    evidence of who used, owned, or controlled

the device at the time the things described in this warrant were

created, edited, or deleted, such as logs, registry entries,

configuration files, saved usernames and passwords, documents,

browsing history, user profiles, e-mail, e-mail contacts, chat

and instant messaging logs, photographs, and correspondence;

                 ii.   evidence of the presence or absence of

software that would allow others to control the device, such as

viruses, Trojan horses, and other forms of malicious. software,

as well as evidence of the presence or absence of security

software designed to detect malicious software;


                                   iii

                                         [Non-Instrumentality Protocol]
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                  iii. evidence of the attachment of other devices;

                  iv.     evidence of counter-forensic programs (and

associated data) that are designed to eliminate data from the

device;

                  v.      evidence of the times the device was used;

                  vi.     passwords, encryption keys, and other access

devices that may be necessary to access the device;

                  vii. applications, utility programs, compilers,

interpreters, or other software, as well as documentation and

manuals, that may be necessary to access the device or to

conduct a forensic examination of it;

                  viii.           records of or information about

Internet Protocol addresses used by the device;

                  ix.     records of or information about the device's

Internet activity, including firewall logs, caches, browser

history and cookies, "bookmarked" or "favorite" web pages, ,

search terms that the user entered into any Internet search

engine, and records of user-typed web addresses.

     2.    As   US2CZ   herein,   tr12   terms "records ~ "   `~C10CUT112T1tS,"


"programs," "applications," and "materials" include records,

documents, programs, applications, and materials created,

modified, or stored in any form, including in digital form on

any digital device and any forensic copies thereof.



                                          iv

                                               [Non-Instrumentality Protocol]
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      3.   As used herein, the term "digital device" includes any

electronic system or device capable of storing or processing

data in digital form, including central processing units;

desktop, laptop, notebook, and tablet computers.; personal

digital assistants; wireless communication devices, such as

telephone paging devices, beepers, mobile telephones, and smart

phones; digital cameras; gaming consoles (including Sony

PlayStations and Microsoft Xboxes); peripheral input/output

devices, such as keyboards, printers, scanners, plotters,

monitors, and drives intended for removable media; related

communications devices, such as modems, routers; cables, and

connections; storage media, such as hard disk drives, floppy

disks, memory cards, optical disks, and magnetic tapes used to

store digital data (excluding analog tapes such as VHS); and

security devices.

II.   SEARCH PROCEDURE FOR DIGITAL DEVICES

      4.   In searching digital devices or forensic copies

thereof, law enforcement personnel executing this search warrant

will employ the following procedure:

           a.   Law enforcement personnel or other individuals

assisting law enforcement personnel (the "search team") will, in

their discretion, either search the digital device (s) on-site or

seize and transport the devices) to an appropriate law

enforcement laboratory or similar facility to be searched at

                                    u

                                        [Non-Instrumentality Protocol]
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that location.    The search team shall complete the search as

soon as is practicable but not to exceed 120 days from the date

of execution of the warrant.      The government will not search the

digital devices) beyond this 120-day period without first

obtaining an extension of time order from the Court.

           b.    The search team will conduct the search only by

using search protocols specifically chosen to identify only the

specific items to be seized under this warrant.

                 i.    The search team may subject all of the data

contained in each digital device capable of containing any of

the items to be seized to the search protocols to determine

whether the device and any data thereon falls within the list of

items to be seized.     The search team may also search for and

attempt to recover deleted, "hidden," or encrypted data to

determine, pursuant to the search protocols, whether the data

falls within the list of items to be seized.

                 ii.   The search team may use tools to exclude

normal operating system files and standard third-party software

that do not need to be searched.

                 iii. The search team may use forensic examination

and searching tools, such as "Encase" and "FTK" (Forensic Tool

Kit), which tools may use hashing and other sophisticated

techniques.



                                   vi

                                        [Non-Instrumentality Protocol]
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           c.    If the search team, while searching a digital

device, encounters immediately apparent contraband or other

evidence of a crime outside the scope of the items to be seized,

the team shall immediately discontinue its search of that device

pending further order of the Court and shall make and retain

notes detailing how the contraband or other evidence of a crime

was encountered, including how it was immediately apparent

contraband or evidence of a.crime.

           d.    If the search determines that a digital device

does not contain any data falling within the list of items to be

seized, the government will, as soon as is practicable, return

the device and delete or destroy all forensic copies thereof.

           e.    If the search determines that a digital device

does Contain data falling within the list of items to be seized,

the government may make and retain copies of such data, and may

access such data at any time.

           f.    If the search determines that a digital device is

(1) itself an item to be seized and/or (2) contains data falling

within the list of items to be seized, the government may retain

forensic copies of the digital device but may not access data

falling outside the scope of the items to be seized (after the

time for searching the device has expired) absent further court

order.



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             g.   The government may retain a digital device itself

until further order of the Court or one year after the

conclusion~of the criminal investigation or case (whichever is

latest), only if the government, within 14 days following the

time period authorized by the Court for completing the search,

obtains an order from the Court authorizing retention of the

device (or while an application for such an order is pending).

Otherwise, the government must return the device.         If the search

determines that a digital device contains data falling within

the list of items to be seized, the government may_also retain

the device itself, without further order of the Court.

             h.   After the completion of the search of the digital

devices, the government shall not access digital data falling

outside the scope of the items to be seized absent further order

of the Court.

        5.   In order to search for data capable of being read or

interpreted by a digital device, law enforcement personnel are

authorized to seize the following items:

             a.   Any digital device capable of being used to

commit, further or store evidence of the offenses) listed

above;

             b.   Any equipment used to facilitate the

transmission, creation, display, encoding,. or storage of digital

data;

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           c.    Any magnetic, electronic, or optical storage

device capable of storing digital data;

           d.    Any documentation, operating logs, or reference

manuals regarding the operation of the digital device or

software used in the digital device;

           e.    Any applications, utility programs, compilers,

interpreters, or other software used to facilitate direct or

indirect communication with the digital device;

           f.    Any physical keys, encryption devices, dongles,

or similar physical items that are necessary to gain access to

the digital device or data stored on the digital device; and

           g.    Any passwords, password files, test keys,

encryption codes, or other information necessary to access the

digital device or data stored on the digital device.

     6.    The special procedures relating to digital devices

found in this warrant govern only the search of digital devices

pursuant to the authority conferred by this warrant and do not

apply to any search of digital devices pursuant to any other

court order.




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                                AFFIDAVIT

     I, Adam Diehl, being duly sworn, declare and state as

follows:

                          I.     INTRODUCTION

     1.    I am a Special Agent ("SA") with the Department of the

Interior, United States Fish and Wildlife Service ("USFWS"),

Office of Law Enforcement, stationed in Torrance, California.           I

am authorized by the Secretary of the Interior to conduct

searches and seizures and to make arrests, as authorized by law,

pursuant to the Lacey~Act, Title 16, United States Code, Section

3371 et seq.    I am an investigative law enforcement officer of

the United States within meaning of Title 16, United States

Code, Section 3375, and a federal law enforcement officer within

the meaning of Rule 41(a) of the Federal Rules of Criminal

Procedure. I have been so employed since May of 2016.

     2.      I was previously employed as a Special Agent with

the Department of Justice, Drug Enforcement Administration

("DEA") in Los Angeles, California for approximately two years,

and a Law Enforcement Officer with the United States Forest

Service, Law Enforcement and Investigations in Southern

California for approximately six years.        I received a Bachelor's

degree in Social and Criminal Justice from Ashford University in

July of 2013.   I am also a graduate of the Fullerton College

Police Academy in Fullerton, California, the Land Management

Police Training Program at the Federal Law Enforcement Training

Center in Glynco, Georgia, the DEA Basic Special Agent Academy

in Quantico, Virginia, and the USFWS Special Agent Basic School
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    ("SABS") at the Federal Law Enforcement Training Center in

    Glynco, Georgia.

            3.   During the last eight years, I have conducted several

    complex investigations involving the protection of natural

    resources and United States government property, arson, firearms

    violations, narcotics trafficking, money laundering, and fish

    and wildlife violations.     Since my employment with the USFWS in

    2016, I have conducted, or been involved in, multiple search

    warrants relating to the illegal commercialization of protected

    fish and wildlife, and violations of federal fish and wildlife

    laws.     I have read, studied and received training on the laws

    enforced by the USFWS.     I have also received advanced training

    in numerous aspects of criminal investigative techniques,

    including electronic surveillance and the application of

    undercover techniques for criminal investigations.



                      II.    PURPOSE OF THIS AFFIDAVIT

         4.      This affidavit is made in support of an application

    for an anticipatory search warrant for the premise located at

    10591 Ranney Ave., Garden Grove, CA 92843 (the "SUBJECT

    PREMISES") for evidence, fruits, and/or instrumentalities of

    violations of 16 U.S.C. §~ 1538(c), 1540(b); 50 C.F.R. §§ 23.13,

    23.20 (illegally importing legally protected animals), 16 U.S.C.

    §~ 3372(d), 3373(d)(3)(A)(i) (submitting a false record or label

for wildlife intended to be imported), and 18 U.S.C. § 545

(smuggling goods into the United States).            This anticipatory

search warrant will be executed only upon the receipt of the DHL



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parcel described below by an individual at the SUBJECT PREMISES

and the occurrence of the circumstances described in Section VI

of this affidavit.

     5.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and/or

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show .merely that there

is sufficient probable cause for the requested warrant and does

not purport to set forth all of my knowledge of or investigation

into this matter.    Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only.



     III.     PREMISES TO BE SEARCHED AND ITEMS TO BE SEIZED

     6.     The SUBJECT PREMISES is located at 10591 Ranney Ave.,

Garden Grove, CA 92843, and is described in detail in Attachment

A, which is incorporated herein by reference.

     7.     The items to be seized, which constitute evidence,

fruits, and/or instrumentalities, of violations of 16 U.S.C.

~ ~ 1538(c), .1540(b); 50 C.F.R. §~ 23.13, 23.20 (illegally

importing legally protected animals), 16 U.S.C.

~§ 3372(d), 3373(d) (3) (A) (i) (submitting a false record or

label for wildlife intended to be imported), and 18 U.S.C. ~ 545

(smuggling goods into the United States), are listed in

Attachment B, which is incorporated herein by reference.




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                        IV.     APPLICABLE LAW

     8.    The Endangered Species Act is a federal law that,

among other things, regulates the importation and exportation of

certain wildlife and plants to and from the United States, and

implements the United States' obligations under the Convention

on International Trade in Endangered Species of Wild Fauna and

Flora ("CITES").

     9.    CITES is an international treaty among approximately

183 nations, including the United States and Indonesia that

establishes certain requirements that must be met before CITES-

protected wildlife may be imported or exported from signatory

nations.   Wildlife protected under CITES is divided into

Appendices I., II, and III.     Wildlife listed in Appendix I have

the highest level of protection and include those species

threatened with the immediate risk of extinction.

     10.   Title 50, Code of Federal Regulations, Section 23.13

generally provides that it is unlawful for any person subject to

the jurisdiction of the United States to attempt to import or

engage in international trade with, any specimen of a species

listed in CITES Appendix I, II, and III.        All wildlife listed in

Appendix I may only be legally imported into the United States

when accompanied by a CITES import permit issued by the United

States and a CITES export permit or re-export certificate issued

by the country from which the wildlife is exported.          All CITES

Appendix II wildlife may only be imported into the United States

when accompanied by an export permit or re-export certificate


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from the country from which the wildlife is being exported.           50

C.F.R. §§ 23.20(e), 23.35, 23.36.

     11.    Asian Arowana (Scleropages formosus) are listed in

CITES Appendix I.

     12.    Title 16, United States Code, Sections 1538(c),

1540(b), provide criminal sanctions for any person to knowingly

engage in any trade in any specimens contrary to the provisions

of CITES.

     13.    Title 18, United States Code, Section 545 makes it

unlawful for a person to "fraudulently or knowingly import or

bring into the United States, any merchandise contrary to law,

or receive, conceal, buy, sell, or in any manner facilitate the

transportation, concealment, or sale of such merchandise after

importation, knowing the same to have been imported or brought

into the United States contrary to law."

     14.    The Lacey Act, 16 U.S.C. § 3371, et seq:, is a federal

law that, among other things, makes it is unlawful for any

person to make or submit any false record, account, or label

for, or any false identification of, any fish, wildlife, or

plant which has been or is intended to be either imported or

transported in interstate or foreign commerce.         16 U.S.C.

~§ 3372(d), 3373(d).

     15.    Federal law generally provides that all importers of

wildlife must file with the USFWS a completed Declaration for

Importation or Exportation of Fish or Wildlife (Form 3-177),

that is signed by the importer or the importer's agent, upon the



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importation of any wildlife at the place where USFWS clearance

is requested.      See 50 CFR §~ 14.61 and 14.52.

                  V.      STATEMENT OF PROBABLE CAUSE

     16.     On February 9, 2016, USFWS SA Stephanie Johnson told

me that a package of fish had been intercepted by United States

Customs and Border Protection ("CBP") officers at the DHL

shipping facility located at the Los Angeles International

Airport ("LAX")        According to SA Johnson, USFWS Wildlife

Inspector ("WI") Ali Ventura told her that CBP called the USFWS

Torrance office and reported finding fish concealed in a box of

pots. `I later learned from WI Kyle McCune, that CBP Officer

Bernard Schirmer called the office around 9:00 a.m., and told

him that he found fish while examining a box labeled as pots at

the DHL LAX shipping facility.      WI McCune also told me that

Officer Schirmer requested the inspectors respond to DHL to

inspect the fish, and that he relayed the information to WI Ali

Ventura.

     17.     On February 9, 2017, SA Johnson, SA Juan Ramirez-

Amezcua, and I drove to the DHL LAX shipping facility and made

contact with CBP Officer Schirmer.       Officer Schirmer told me

that, on February 9, 2017, at approximately 7:30 a.m., he

examined a DHL box (the "SUBJECT PARCEL") that arrived from

Indonesia.    According t~o Officer Schirmer, the description of

the goods on the air waybill (DHL Air GTaybill ##9667953304) was

six "Porcelain Herbal Pot", but he felt moisture on the side of

the box.   Officer Schirmer told me he opened the box and found

six boxes containing porcelain pots inside each box.          Officer



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Schirmer told me he opened up two of the six boxes, removed the

lids, and found two bags of fish inside each pot.         Officer

Schirmer then told~me he placed the pots and boxes back in the

box and contacted the USFWS.

     18.   I observed the SUBJECT PARCEL sitting on top of a

receiving belt in the CBP examination area,, and took photographs

of the outside of the box and commercial invoice, which was

affixed to the top of the box.      I observed the following

information on the commercial invoice: Air Waybill Number:

9667953304.   Shipper: Mr. Mickey, JL. Shinta No. 1, Bojong Indah

- Rawa Buaya Cengkareng, Jakarta, Indonesia 11610; Phone Number:

+6285780639550.    Receiver: Mr. Shawn Lee ("SHAWN LEE"), 10591

Ranney Ave., CA, 92843; Phone Number: 714-300-8192.          Full

Description of Goods: Porcelain Herbal Pot; Quantity: 6; Unit

Value: 100.00; Total Declared Value: 600.00; Country of

Manufacture: Indonesia.

     19.    I then took photographs of the contents as SA

Ramirez-Amezcua and Officer Schirmer opened SUBJECT PARCEL.           I

observed a total of six small white cardboard boxes containing

white porcelain pots with lids inside each box.         I also observed

and photographed each pot as the lids were removed and the

contents were revealed.     Four of the six porcelain pots

contained two clear plastic bags with water and fish, and two of

the six porcelain pots were empty.       There was a total of eight

fish inside the box.    SA Ramirez-Amezcua told me that, based on

his training and experience, he believed the eight fish in the

bags were Asian Arowana, listed in CITES Appendix I.

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     20.     SA Ramirez-Amezcua and I then placed the porcelain

pots and fish back inside of the box and transported the SUBJECT

PARCEL back to. USFWS Torrance Office.      I maintained custody of

the SUBJECT PARCEL until .SA Ramirez-Amezcua and WI Frank Chu and

WI Cory Kawabata removed the fish from the porcelain pots and

bags, and placed them into a fish tank at the USFWS Torrance

Office.

     21.   Later, on February 9, 2016, SA Ramirez-Amezcua

forwarded an email to me with a preliminary identification of

the fish by USFWS Senior Forensic Scientist Mary Burnham Curtis,

Ph.D., from the National Fish and Wild-life Forensic Laboratory

in Ashland, Oregon.     The email included photographs of the fish

removed from SUBJECT PARCEL, taken by SA Ramirez-Amezcua.

According to Senior Forensic Scientist Burnham Curtis, the

characteristics of the fish, including the lateral line scale

count of 22-23, is consistent with Asian Arowana (Scleropages

formosus), listed in CITES Appendix I.

     22.   On February 9, 2017, I searched in the TLO Trans-Union

Intelligence ("TLO") database and confirmed that the receiver on

the SUBJECT PARCEL, SHAWN LEE, lives at the address listed on

the commercial invoice, 10591 Ranney Ave., Garden Grove,

California 92843, the SUBJECT PREMISES.        I also located phone

number 714-383-2382, which was listed as a mobile phone

associated with. SHAWN LEE and the SUBJECT PREMISES.         The TLO

database contains records related to ownership and occupancy of

property, personal identity, employment, vehicle registration,

and other such records that are available with a subscription.



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     23.     On February 9, 201.7, SA Johnson conducted an open

source Google search of phone number 714-383-2382 and informed

me that she located an email address Shawnlee88@yahoo.com and a

username Lidofishieboi, associated using LEE.         SA Johnson also

told me she conducted an open source Internet search of

Lidofishieboi and found comments and/or postings from same on

the following blogs: marinebreeder.org, goldfishkeepers.org,

chameleonforums.com, reef2reef.com, simplydiscus.~om, and

reefcentral.com, all sites used to sell and discuss fish and

other wildlife.     On February 9, 2017, I reviewed screen shots

and the phone number 714-383-2382 was listed as a contact number

for Lidofishieboi on reefcentral.com which was the phone number

number was associated with the TLO database for SHAWN LEE.

     24.     On February 9, 2017, SA .Ramirez-Amezcua conducted a

query of the Law Enforcement Management Information System

("LEMIS"), a database maintained by the USFwS, a database_

maintained by the USFWS that contains records involving the

importation and exportation of wildlife, including permits and

declarations.     He informed me that the query did_not identify

any Form 3-177 declaration for wildlife, any CITES import permit

for Asian Arowana, or any records for any shipments relating to.

SHAWN LEE.

     25.   On February 9, 2017, I spoke with DHL Security

Supervisor"Robert Candia, who told me that an individual named

SHAWN LEE called the DHL customer service to find out the status

of the delivery.     According to Mr. Candia, the caller left the

name SHAWN LEE and phone number 714-300-8192, the same

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information as found on the SUBJECT, PARCEL, with the Customer

Service representative.     I also spoke with DHL representative

Fabiola Duran, who told me she called phone number 714-300-8192

and left a message for SHAWN LEE, informing him that the package

was scheduled to be delivered in the afternoon on February 10,

2017.

     26.   Based on my training and experience (and information

provided to me by other experienced USFWS special agents with

whom I work), I have learned that individuals who. traffic in

CITES-protected wildlife, such as here, also traffic in other

types of CITES-protected wildlife.       Thus, there is probable

cause to believe that additional CITES-protected animals will be

found at the SUBJECT PREMISES.

     27.   Based on my training and experience (and information

provided to me by other experienced USFWS special agents .with

whom I work), I have learned that individuals who illegally

import CITES-protected wildlife to their residences are likely

to keep equipment, records, and/or correspondence related to

illegal importations at their residence.

     28.   The SUBJECT PARCEL that was intercepted on February 9,

2017, was being shipped from an overseas shipper in Indonesia.

Based on my training and experience (and information provided to

me by other experienced USFWS special agents with whom I work),

I have learned that international trafficking of wildlife,

including the parts thereof, are often facilitated using email,

cell phones, and/or text messages and, thus, there is probable

cause to believe that digital evidence related to the unlawful

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wildlife trafficking in this case will be found at the SUBJECT

PREMISES.



VI.     CIRCUMSTANCES THAT WILL ACTIVATE THE ANTICIPATORY SEARCH
                 WARRANT FOR THE SUBJECT PREMISES

      29.   The anticipatory search warrant to search the SUBJECT

PREMISES described herein will be triggered by the following

circumstances:

            a.   Within the allowable time prescribed by the

warrant, an individual working with law enforcement, acting in

an undercover capacity as a DHL delivery person, will deliver

the SUBJECT PARCEL to the SUBJECT PREMISES.

            b.   It is anticipated that the SUBJECT PARCEL

containing the wildlife will be accepted by an individual who is

present at SUBJECT PREMISES and will be taken inside the SUBJECT

PREMISES.   The SUBJECT PARCEL will be kept under observation

using physical surveillance until the time. that it is taken into

the residence.    Once the SUBJECT PARCEL has been delivered and

taken inside the SUBJECT PREMISES, USFWS SAs will wait

approximately ten to thirty minutes before entering the SUBJECT

PREMISES.   Thus, the triggering event to activate this

anticipatory search warrant, and permit its execution, will be

delivery and acceptance of the SUBJECT PARCEL at the SUBJECT

PREMISES.




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       VII.     TRAINING AND EXPERIENCE ON DIGITAL DEVICES

     30.   As used herein, the term "digital device" includes any

electronic system or device capable of storing or processing

data in digital form, including central processing units;

desktop, laptop, notebook, and tablet computers; personal

digital assistants; wireless communication devices, such as

telephone paging devices, beepers, mobile telephones, and smart

phones; digital cameras; gaming consoles (including Sony

P1ayStations and Microsoft Xboxes); peripheral input/output

devices, such as keyboards, printers, scanners, plotters,

monitors, and drives intended for removable media; related

communications devices, such as modems, routers, cables, and

connections; storage .media, such as hard disk drives, floppy

disks, memory cards, optical disks, and magnetic tapes used to

store digital data (excluding analog tapes such as VHS); and

security devices.    Based on my knowledge, training, and

experience, as well as information related to me by agents and

others involved in the forensic examination of digital devices,

~~I know that data in digital form can be stored on a variety of

digital devices and that during the search of a premises it is

not always possible to search digital devices for digital data

for a number of reasons, including the following:

           a.   Searching digital devices can be a highly

technical process that requires specific expertise and

specialized equipment.     There are so many types of digital

devices and software programs in use today that it is impossible


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to bring to the search site all of the necessary technical

manuals and specialized equipment necessary to conduct a

thorough search.    In addition, it may be necessary to consult

with specially trained personnel who have specific expertise in

the types of digital devices, operating systems, or software

applications that are being searched.

           b.    Digital data is particularly vulnerable to

inadvertent or intentional modification or destruction.

Searching digital devices can require the use of precise,

scientific procedures that are designed to maintain the

integrity of digital data and to recover "hidden," erased,

compressed, encrypted, or password-protected data.         As a result,

a controlled environment, such as a law enforcement laboratory

or similar facility, is essential to conducting a complete and

accurate analysis of data stored on digital devices.

           c.    The volume of data stored on many digital devices

will typically be so large that it will be highly impractical to

search for data during the physical search of the premises.           A

single megabyte of storage space is the equivalent of 500

double-spaced pages of text.      A single gigabyte of storage

space, or 1,000 megabytes, is the equivalent of 500,000 double-

spaced pages of text.     Storage devices capable of storing 500 or

more gigabytes are now commonplace.       Consequently, just one

device might contain the equivalent of 250 million pages of

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data, which, if printed out, would completely fill three 35' x

35' x 10' rooms to the ceiling.       Further, a 500 gigabyte drive

could contain as many .as approximately 450 full run movies or

450,000 songs.

           d.    Electronic files or remnants of such files can be

recovered months or even years after they have been downloaded

onto a hard drive, deleted, or viewed via the Internet..

Electronic files saved to a hard drive can be stored for years

with little or no cost.     Even when such files have been deleted,

they can be recovered months or years later using readily-

available forensics tools.      Normally, when a person deletes a

file on a computer, the data contained in the file does not

actually disappear; rather, that data remains on the hard drive

until it is overwritten by new data.       Therefore, deleted files,

or remnants of deleted files, may reside in free space or slack

space, i.e., space on a hard drive that is not allocated to an

active file or that is unused after a file has been allocated to

a set block of storage space, for long periods of time before

they are overwritten.     In addition; a computer's operating

system may also keep a record of deleted data in a swap or

recovery file.   Similarly, files that have been viewed on the

Internet are often automatically downloaded into a temporary

directory or cache.    The browser typically maintains a fixed

amount of hard drive space devoted to these files, and the files

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are only overwritten as they are replaced with more recently

downloaded or viewed content.      Thus, the ability to retrieve

residue of an electronic file from a hard drive depends less on

when the file was downloaded or viewed than on a particular

user's operating system, storage capacity, and computer habits.

Recovery of residue of electronic files from a hard drive

requires specialized tools and a controlled laboratory

environment.     Recovery also can require substantial time.

           e.     Although some of the records called for by this

warrant might be found in the form of user-generated documents

(such as word processing, picture, and movie files), digital

devices can contain other forms of electronic evidence as well.

In particular, records of how a digital device has been used,

what it has been used for, who has used it, and who has been

responsible for creating or maintaining records, documents,

programs, applications and materials Contained on the digital

devices are, as described further in the attachments, called for

by this warrant.     Those records will not always be found in

digital data that is neatly segregable from the hard drive image

as a whole.     Digital data on the hard drive not currently

associated with any file can provide evidence of a file that was

once on the hard drive but has since been deleted or edited, or

of a deleted portion of a file (such as a paragraph that has

been deleted from a word processing file).        Virtual memory

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paging systems can leave digital data on the hard drive that

show what tasks and processes on the computer were recently

used.   Web browsers, e-mail programs, and chat programs often

store configuration data on the hard drive that can reveal

information such as online nicknames and passwords.          Operating

systems can record additional data, such as the attachment of

peripherals, the attachment of USB flash storage devices, and

the times the computer was in use.       Computer file systems can

record data about the dates files were created and the sequence

in which they were created.      This data can be evidence of a

crime, indicate the identity of the user of the digital device,

or point toward the existence of evidence in other locations.

Recovery of this data requires specialized tools and a

controlled laboratory environment, and also can require

substantial time.

           f.   Further, evidence of how a digital device has

been used, what it has been used for, and who has used it, may

be the absence of particular data on a digital device.          For

example, to rebut a claim that the owner of a digital device was

not responsible for a particular use because the device was

being controlled remotely by malicious software, it may be

necessary to show that malicious software that allows someone

else to control the digital device remotely is not present on

the digital device.    Evidence of the absence of particular data



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on a digital device is not segregable from the digital device.

Analysis of the digital device as a whole to demonstrate the

absence of particular data requires specialized tools and a

controlled laboratory environment, and can require substantial

time.

           g.    Digital device users can attempt to conceal data

within digital devices through a number of methods, including

the use of innocuous or misleading filenames and extensions.

For example, files with the extension ".jpg" often are image

files; however, a user can easily change the extension to ".txt"

to conceal the image and make it appear that the file contains

text.   Digital device users can also attempt to conceal data by

using encryption, which means that a password or device, such as

a "dongle" or "keycard," is necessary to decrypt the data into

readable form.    In. addition, digital device users can conceal

data within another seemingly unrelated and innocuous file in a

process called "steganography."      For example, by using

steganography a digital device user can conceal text in an image

file that cannot be viewed when the image file is opened.

Digital devices may also contain "booby traps" that destroy or

alter data if certain procedures are not scrupulously followed.

A substantial amount of time is necessary to extract and sort

through data that is concealed, encrypted, or subject to booby



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traps, to determine whether it is evidence, contraband or

instrumentalities of a crime.

     31.   The USFWS has only five local agents and no local

forensic examiners.    On February 9, 2017, USFWS Torrance Office

Resident Agent in Charge Erin Dean told me that she had

attempted to contact nearby forensic examiners, but was unable

to find a forensic examiner to participate in the execution of

the warrant on February 10, 2017.        We need to execute the

warrant on February 10, 2017, because the SUBJECT PARCEL is

supposed to be delivered on February 10, 2017.         I know,

including from different search warrants obtained and executed

with similar circumstances, that we have a difficult time

getting forensic assistance from other federal agencies .on

search warrants on short notice,.       I, thus, intend to seize

digital devices during the execution of the search warrant and

send them to our Digital Evidence Recovery and Technical

Surveillance Unit located in Jacksonville, Florida, for imaging,

and will promptly return the digital devices to residence.

     32.   Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.




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                                        [Non-Instrumentality Protocol]
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                          VIII.   CONCLUSION

     33.   For all the reasons described above, I respectfully

submit that there is probable cause to believe that evidence, .

fruits, and/or instrumentalities of violations of 16 U.S.C.

§§ 1538(c), 1540(b); 50 C.F.R. ~~ 23.13, 23.20 (illegally

importing legally protected animals), 16 U.S.C. ~§ 3372(d),

3373(d)(3)(A)(i) (submitting a false record or label for

wildlife intended to be imported), and 18 U.S.C. ~ 545

(smuggling goods into the United States) will be found at the

SUBJECT PREMISES.




                                        ADAM DIEHL, Special Agent,
                                        USFWS

Subscribed to and sworn before me
this 10th day of February, 2017.

                     ~-


HONORABLE STEVE KIM
UNTTED STATES MAGISTRATE JUDGE




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                                        [Non-Instrumentality Protocol]
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                                EXHIBIT 2

DHL package containing porcelain pots and bags of Asian arowanas




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                                   'h
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         Bags of Asian arowanas removed from porcelain pots




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                                EXHIBIT 3

       Eight bags of Asian arowanas retrieved from SHAWN LEE
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                                EXHIBIT 4

                              Asian arowana




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